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 8                                   UNITED STATES DISTRICT COURT
 9                          FOR THE EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                          No. 2:13-cr-0050 KJM
12                      Plaintiff,
13          v.                                          ORDER
14   ZHIQIANG LIU, et al.,
15                      Defendants.
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17          This matter is before the court on the Order to Show Cause issued on November 5, 2013.

18   (ECF 56). The court has now received responses from all counsel affected by the order. While

19   the court notes that Mr. Reichel has accepted responsibility and offered to pay the costs incurred,

20   the court declines to impose costs in this instance, reserving that right for any future repeat

21   violations. Having reviewed the responses of all counsel, conferred with the court’s interpreter,

22   and good cause appearing, the Order to Show Cause is DISCHARGED.

23          Dated: December 25, 2013.

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                                                      UNITED STATES DISTRICT JUDGE
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